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                      IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

TEXAS,                                                §
WISCONSIN,                                            §
ALABAMA,                                              §
ARKANSAS,                                             §
ARIZONA,                                              §
FLORIDA,                                              §
GEORGIA,                                              §
INDIANA,                                              §
KANSAS,                                               §
LOUISIANA,                                            §
PAUL LePAGE, Governor of Maine,                       §
GOVERNOR PHIL BRYANT OF                               §
THE STATE OF MISSISSIPPI,                             §
MISSOURI,                                             §
NEBRASKA,                                             §
NORTH DAKOTA,                                         §
SOUTH CAROLINA,                                       §
SOUTH DAKOTA,                                         §
TENNESSEE,                                            §
UTAH,                                                 §
WEST VIRGINIA,                                        §
NEILL HURLEY, and                                     §
JOHN NANTZ,                                           §
                     Plaintiffs,                      §
                                                      §
v.                                                    §   Civil Action No. 4:18-CV-00167-O
                                                      §
UNITED STATES OF AMERICA,                             §
UNITED STATES DEPARTMENT                              §
OF HEALTH AND HUMAN                                   §
SERVICES, ALEX AZAR,                                  §
in his Official Capacity as                           §
SECRETARY OF HEALTH AND                               §
HUMAN SERVICES, UNITED                                §
STATES INTERNAL REVENUE                               §
SERVICE, and DAVID J. KAUTTER,                        §
in his Official Capacity as Acting                    §
COMMISSIONER OF INTERNAL                              §
REVENUE,                                              §
                            Defendants.               §


AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


TO THE HONORABLE REED O’CONNOR:

        The Patient Protection and Affordable Care Act (the “Affordable Care Act,” “the

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ACA” or “the Act”), as recently amended, forces an unconstitutional and irrational

regime onto the States and their citizens. Because this recent amendment renders

legally impossible the Supreme Court’s prior savings construction of the Affordable

Care Act’s core provision—the individual mandate—the Court should hold that the

ACA is unlawful and enjoin its operation.

        NFIB v. Sebelius, 567 U.S. 519 (2012), held that in enacting the ACA, Congress

sought to do something unconstitutional: impose a mandate to obtain health

insurance by requiring that most Americans “shall” insure that they are “covered

under minimum essential coverage.” 26 U.S.C. § 5000A(a). “Congress [wrongly]

thought it could enact such a command under the Commerce Clause[.]” NFIB, 567

U.S. at 562 (Roberts, C.J.). The Supreme Court, however, interpreted the mandate to

be part-and-parcel of a tax penalty that applies to many (but not all) of those to whom

the mandate applies. Thus, even though Congress sought to do something

unconstitutional in enacting the mandate under the Commerce Clause, the Supreme

Court salvaged its handiwork as a lawful exercise of the taxing power. But things

changed on December 22, 2017.

        On December 22, 2017, the President signed into law the Tax Cuts and Jobs

Act of 2017. This new legislation eliminated the tax penalty of the ACA, without

eliminating the mandate itself. What remains, then, is the individual mandate,

without any accompanying exercise of Congress’s taxing power, which the Supreme

Court already held that Congress has no authority to enact. Not only is the individual

mandate now unlawful, but this core provision is not severable from the rest of the

ACA—as four Justices of the Supreme Court already concluded. In fact, Congress

stated in the legislative text that the ACA does not function without the individual

mandate.

        The ACA’s unconstitutionality follows from three holdings in NFIB and the

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aforementioned provision in the Tax Cuts and Jobs Act of 2017. First, a majority of

the Supreme Court held that Congress lacks the constitutional authority to compel

citizens to purchase health insurance. NFIB, 567 U.S. at 558 (Roberts, C.J.); id. at

657 (Scalia, Kennedy, Thomas, and Alito, JJ., dissenting) (hereinafter “Dissenting

Op.”). Second, the same majority concluded that the ACA included a mandate to buy

health insurance that applies to most (but not all) citizens, and a separate tax penalty

that applies to most (but not all) of those required to buy insurance under the

mandate. Id. at 562–63 (Roberts, C.J.); id. at 663 (Dissenting Op.). Third, a different

majority held that, as a matter of constitutional avoidance, it was “fairly possible” to

reinterpret the mandate and tax penalty as a single “tax,” which Congress may enact

under its taxing authority. Id. at 564–74. In reaching this end, the majority concluded

that Congress’s taxing-power interpretation was only “fairly possible” because the

provision at issue raised “at least some revenue for the Government.” Id. at 564 (citing

United States v. Kahriger, 345 U.S. 22 (1953)). Indeed, the raising of “at least some

revenue” was “the essential feature of any tax.” Id. (emphasis added). After all, if a

provision raises no revenue, it cannot be said “to pay the Debts and provide for the

common Defence and general Welfare of the United States.” U.S. Const. art. I, § 8,

cl. 1 (emphasis added).

        Pursuant to the Tax Cuts and Jobs Act of 2017, starting in 2019, the tax

penalty is eliminated by reducing the tax to zero. Pub. L. No. 115-97, § 11081, 131

Stat. 2054. The individual mandate itself, however, remains. But because the tax

penalty provision in the ACA no longer raises any revenue, the Supreme Court’s

avoidance reading is no longer possible. As the Congressional Budget Office

explained, the Tax Cuts and Jobs Act of 2017 “eliminate[s]” the “individual mandate

penalty . . . but [not] the mandate itself.” Congressional Budget Office, Repealing the

Individual Health Insurance Mandate: An Updated Estimate 1, (November 2017)

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(emphasis added) (hereinafter “CBO 2017 Report”). 1 Because the tax penalty raises

$0, it lacks “the essential feature of any tax,” and the avoidance interpretation adopted

in NFIB to save the individual mandate from its unconstitutionality is no longer

“fairly possible.”

        Following the enactment of the Tax Cuts and Jobs Act of 2017, the country is

left with an individual mandate to buy health insurance that lacks any constitutional

basis. The invalidity of the ACA’s core provision (individual mandate) thus follows

from NFIB.

        Once     the     heart     of   the    ACA—the    individual    mandate—is        declared

unconstitutional, the remainder of the ACA must also fall. NFIB, 567 U.S. at 691–

708 (Dissenting Op.). As Congress made clear, “[t]he requirement [for individuals to

buy health insurance] is essential to creating effective health insurance markets.” 42

U.S.C. § 18091(2)(I) (emphasis added). “[T]he absence of th[is] requirement would

undercut Federal regulation of the health insurance market.” Id. § 18091(2)(H). In

particular, “the guaranteed issue and community rating requirements would not

work without the coverage requirement [i.e., Section 5000A].” King v. Burwell, 135

S. Ct. 2480, 2487 (2015) (emphasis added). So because the remainder of ACA does not

“function in a manner consistent with the intent of Congress,” the whole Act must

fall with the mandate. Alaska Airlines, Inc. v. Brock, 480 U.S. 678, 684–85 (1987)

(describing severability analysis) (emphasis added).

        Absent the individual mandate, the ACA is an irrational regulatory regime

governing an essential market. The ACA’s stated objectives are “achiev[ing] near-

universal [health-insurance] coverage,” 42 U.S.C. § 18091(2)(D), “lower[ing] health

insurance premiums,” id. § 18091(2)(F), and “creating effective health insurance

markets,” id. § 18091(2)(I). But without the “essential” mandate, coverage will

1    See          https://www.cbo.gov/system/files/115th-congress-2017-2018/reports/53300-individual
mandate.pdf.
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decrease, premiums will rise, and markets will become irrational. See id. Thus, the

post-mandate ACA lacks “some footing” in the “realities” of the health-insurance

market, Heller v. Doe, 509 U.S. 312, 321 (1993), and has no “plausible policy reason”

for forcing continued compliance, Armour v. City of Indianapolis, 566 U.S. 673, 681

(2012).

         In all, the ACA is unlawful and the Court should enjoin its operation.

Therefore, Plaintiffs seek declaratory and injunctive relief against the United States

of America, United States Department of Health and Human Services, Alex Azar, in

his official capacity as Secretary of Health and Human Services, United States

Internal Revenue Service, and David J. Kautter, in his official capacity as Acting

Commissioner of Internal Revenue, regarding Defendants’ actions implementing and

enforcing the Patient Protection and Affordable Care Act.

                                              I. PARTIES

         1.     Plaintiff States are all sovereigns within the United States.

         2.     Plaintiff Paul LePage is the Governor of Maine and Chief Executive of

the Maine Constitution and the laws enacted by the Maine Legislature. Me. Const.

art. V, Pt. 1, § 1.

         3.     Plaintiff Phil Bryant is the Governor of Mississippi and brings this suit

on behalf of Mississippi pursuant to Miss. Code Ann. § 7-1-33.

         4.     Plaintiff Neill Hurley is a citizen and resident of Texas and a citizen of

the United States. Mr. Hurley maintains minimum essential health insurance

coverage, which he purchased on the ACA-created exchange. Mr. Hurley is subject to

the individual mandate and objects to being required by federal law to comply with

it.

         5.     Plaintiff John Nantz is a citizen and resident of the State of Texas and

a citizen of the United States. Mr. Nantz maintains minimum essential health

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insurance coverage, which he purchased on the ACA-created exchange. Mr. Nantz is

subject to the individual mandate and objects to being required by federal law to

comply with it.

        6.      In addition to performing various sovereign functions and prerogatives,

all Plaintiff States function as significant employers with tens of millions under their

collective charge. 2

        7.      Defendants are the United States of America, the United States

Department of Health and Human Services (“Department”), Alex Azar, in his official

capacity as Secretary of Health and Human Services, the United States Internal

Revenue Service (“Service”), and David J. Kautter, in his official capacity as Acting

Commissioner of Internal Revenue.

        8.      The Department is a federal agency and is responsible for

administration and enforcement of the laws challenged here. See generally 20 U.S.C.

§ 3508; 42 U.S.C. §§ 202–03, 3501.

        9.      The Service is a bureau of the Department of Treasury, under the

direction of the Acting Commissioner of Internal Revenue, David J. Kautter, and is

responsible for collecting taxes, administering the Internal Revenue Code, and

overseeing various aspects of the Act. See generally 26 U.S.C. § 7803 et. seq.; see

https://www.irs.gov/affordable-care-act/affordable-care-act-tax-provisions.

        10.     Any injunctive relief requested herein must be imposed upon the

Department, Secretary, Service, and the Acting Commissioner for Plaintiffs to obtain

full relief.

                               II. JURISDICTION AND VENUE

        11.     The Court has jurisdiction pursuant to 28 U.S.C. § 1331 because this


2See, e.g., U.S. Census Bureau, State and Local Government Employment and Payroll Data: March
2015 Annual Survey of Public Employment & Payroll, http:// factfinder.census.gov/bkmk/table/1.0/en/
GEP/2015/00A4.

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suit concerns the constitutionality of the ACA. The Court also has jurisdiction to

compel the Secretary of Health and Human Services and Acting Commissioner of

Internal Revenue to perform their duties pursuant to 28 U.S.C. § 1361.

        12.     The Plaintiffs’ claims for declaratory and injunctive relief are authorized

by 28 U.S.C. §§ 2201 and 2202, by 5 U.S.C. § 706, by Rules 57 and 65 of the Federal

Rules of Civil Procedure, and by the general legal and equitable powers of the Court.

        13.     Venue is proper under 28 U.S.C. § 1391 because the United States, two

of its agencies, and two of its officers in their official capacity are Defendants; and a

substantial part of the events giving rise to the Plaintiffs’ claims occurred in this

District. Further, a plaintiff “resides” in this district, a “substantial part of the events

[ ] giving rise to the claim occurred” in this district, and “no real property is involved.”

Id. § 1391(e)(1).

                                 III. FACTUAL BACKGROUND

A.      The Individual Mandate and the Affordable Care Act.

        14.     In 2010, Congress enacted a sweeping new regulatory framework for the

nation’s healthcare system by passing the Patient Protection and Affordable Care

Act, Pub. L. No. 111-148, 124 Stat. 119, and the Health Care and Education

Reconciliation Act of 2010, Pub. L. No. 111-152, 124 Stat. 1029, collectively and

commonly referred to as the “Affordable Care Act.” See Patient Protection and

Affordable Care Act, Pub. L. No. 111-148, 124 Stat. 119-1025 (Mar. 23, 2010)

(hereinafter, collectively, “the Affordable Care Act,” “the ACA” or “the Act”). President

Obama signed the Patient Protection and Affordable Care Act (H.R. 3590, 111th

Cong.) into law on March 23, 2010, and the Health Care and Education Reconciliation

Act (H.R. 4872, 111th Cong.) into law on March 30, 2010.

        15.     The ACA has the express statutory goals of “achiev[ing] near-universal

[health-insurance] coverage,” 42 U.S.C. § 18091(2)(D), “lower[ing] health insurance

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premiums,” id. § 18091(2)(F), and “creating effective health insurance markets,” id.

§ 18091(2)(I).

        16.      The ACA contains three main features relevant to this lawsuit.

        17.      First, the ACA contains an “individual mandate” on most Americans to

purchase health insurance and, separately, a tax penalty for most who fail to comply.

ACA § 1501; 26 U.S.C. § 5000A.

              a. The statutory title of the individual mandate is “Requirement To

                 Maintain Minimum Essential Coverage,” ACA § 1501; 26 U.S.C.

                 § 5000A(a), and the statutory title for the tax penalty is “Shared

                 Responsibility Payment,” ACA § 1501; 26 U.S.C. § 5000A(b). The

                 individual mandate provides: “An applicable individual shall . . . ensure

                 that the individual . . . is covered under minimum essential coverage.”

                 26 U.S.C. § 5000A(a).

              b. Subsection       (b)    of   Section     5000A—the   “Shared   Responsibility

                 Payment”—imposed a tax “penalty” on individuals who failed to comply

                 with Subsection (a): “If a taxpayer who is an applicable individual . . .

                 fails to meet the requirement of subsection (a) . . . then . . . there is

                 hereby imposed on the taxpayer a penalty with respect to such

                 failure[ ].” 26 U.S.C. § 5000A(b)(1). Subsection (c) determines the

                 amount of the tax penalty with a multi-step formula. Id. § 5000A(c).

              c. Some Americans are exempt from the individual mandate, see 26 U.S.C.

                 § 5000A(d)(2)–(4); id. § 1402(g)(1), while others are subject to the

                 mandate but exempt from the tax penalty, see 26 U.S.C. § 5000A(e)(1)–

                 (5). “Many individuals . . . [will] comply with a mandate, even in the

                 absence of penalties, because they believe in abiding by the nation’s

                 laws.” Congressional Budget Office, Key Issues in Analyzing Major

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                   Health Insurance Proposals 53 (Dec. 2008). 3

          18.      Second, the ACA imposes regulations on health-insurance companies.

                a. The Act requires health insurance companies to “accept every employer

                   and individual in the State that applies for [ ] coverage,” regardless of

                   preexisting conditions (commonly termed “guaranteed issue”). ACA

                   § 1201; 42 U.S.C. § 300gg-1–4.

                b. The Act prohibits insurance companies from charging individuals higher

                   premiums because of their health (commonly termed “community

                   rating”). ACA § 1201; 42 U.S.C. § 300gg-4(a)(1).

                c. The Act imposes numerous coverage requirements on all health-

                   insurance plans, termed “essential health benefits” in the Act, and

                   limitations on “cost-sharing” on all plans. See ACA §§ 1301–02; 42

                   U.S.C. §§ 18021–22.

                d. The Act charges “the Secretary” with the authority to “define the

                   essential health benefits” that plans must include. ACA § 1302; 42

                   U.S.C. § 18022. Such benefits “shall include” at least “ambulatory

                   patient services,” “emergency services,” “hospitalization,” “maternity

                   and newborn care,” “mental health and substance use disorder services,

                   including    behavioral        health   treatment,”      “prescription      drugs,”

                   “rehabilitative and habilitative services and devices,” “laboratory

                   services,” “preventive and wellness services and chronic disease

                   management,” and “pediatric services, including oral and vision care.”

                   ACA § 1302; 42 U.S.C. § 18022(b)(1)(A)–(J) (capitalization altered).

          19.      Third, the ACA contains other regulations to promote access to health

insurance and the affordability of that insurance.


3   See https://www.cbo.gov/sites/default/files/110th-congress-2007-2008/reports/12-18-keyissues.pdf.
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            a. Employers of 50 or more full-time employees (defined as working “on

                average at least 30 hours [ ] per week,” ACA § 1513; 26 U.S.C.

                § 4980H(c)(4)(A)) must offer affordable health insurance if one employee

                qualifies for a subsidy to purchase health insurance on the health-

                insurance exchanges created by the ACA. See ACA § 1513; 26 U.S.C.

                § 4980H.

            b. Covered employers that fail to offer any insurance must pay a penalty

                of $2,000 per year per employee. ACA § 1513; 26 U.S.C. § 4980H(a),

                (c)(1). If the employer fails to offer affordable insurance, then it must

                pay $3,000 per year per employee. ACA § 1513; 26 U.S.C. § 4980H(b); 79

                Fed. Reg. 8544, 8544 (Feb. 12, 2014).

            c. The Act also authorizes refundable tax credits to make insurance

                purchased on the exchanges more affordable for individuals between

                100% and 400% of the poverty line. See ACA § 1401; 26 U.S.C. § 36B.

            d. The Act substantially expanded Medicaid, requiring States to cover—

                with an expanded benefits package—all individuals under 65 who have

                income below 133% of the poverty line. 42 U.S.C. § 1396; see generally

                NFIB, 567 U.S. at 574–80 (Roberts, C.J.) (describing expansion and

                holding that forcing States to comply is unconstitutional).

            e. The Act also imposes additional insurance taxes and regulations, like a

                tax on high cost employer-sponsored health coverage, 26 U.S.C. § 4980I,

                a requirement that insurance providers cover dependents up to 26 years

                of age, 42 U.S.C. § 300gg-14(a), the elimination of coverage limits, id.

                § 300gg-11, and a reduction in federal reimbursement rates to hospitals,

                see 42 U.S.C. § 1395ww.

            f. Finally, the Act contains a grab bag of other provisions. For example,

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                 the Act imposes a 2.3% tax on certain medical devices, 26 U.S.C.

                 § 4191(a), creates mechanisms for the Secretary to issue compliance

                 waivers to States attempting to reduce costs through otherwise-

                 prohibited means, 42 U.S.C. § 1315, and regulates the display of

                 nutritional content at certain restaurants, 21 U.S.C. § 343(q)(5)(H).

        20.      According to Congress’s own findings, the ACA’s provisions do not

function rationally without the individual mandate.

              a. Congress stressed the importance of Section 5000A’s individual

                 mandate with explicit findings in the text of the ACA itself. ACA § 1501;

                 42 U.S.C. § 18091.

              b. Chief among these legislative findings is Section 18091(a)(2)(I), which

                 provides:
                         Under sections 2704 and 2705 of the Public Health Service
                         Act [42 U.S.C. 300gg-3, 300gg-4] (as added by section 1201
                         of this Act), if there were no requirement [to buy health
                         insurance], many individuals would wait to purchase
                         health insurance until they needed care. By significantly
                         increasing health insurance coverage, the requirement [to
                         buy health insurance], together with the other provisions
                         of this Act, will minimize this adverse selection and
                         broaden the health insurance risk pool to include healthy
                         individuals, which will lower health insurance premiums.
                         The requirement is essential to creating effective health
                         insurance markets in which improved health insurance
                         products that are guaranteed issue and do not exclude
                         coverage of pre-existing conditions can be sold.
                 42 U.S.C. § 18091(a)(2)(G) (emphasis added). Even after the recent

                 legislative change, the individual mandate remains part of the ACA,

                 permitting the ACA to function exactly as Congress outlined and

                 intended.

              c. Other legislative findings from Section 18091 reinforce this point.

                     i. “By significantly reducing the number of the uninsured, the

                         requirement, together with the other provisions of th[e] [ACA],

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                         will significantly reduce [health care’s] economic cost.” Id.

                         § 18091(2)(E). “[B]y significantly reducing the number of the

                         uninsured, the requirement, together with the other provisions of

                         th[e] [ACA], will lower health insurance premiums.” Id.

                         § 18091(2)(F).

                    ii. “The requirement is an essential part of [the Government’s]

                         regulation of economic activity, and the absence of the

                         requirement would undercut Federal regulation of the health

                         insurance market.” Id. § 18091(2)(H) (emphasis added).

                   iii. “[T]he requirement, together with the other provisions of th[e]

                         [ACA], will significantly reduce administrative costs and lower

                         health insurance premiums. The requirement is essential to

                         creating effective health insurance markets that do not require

                         underwriting and eliminate its associated administrative costs.”

                         Id. § 18091(2)(J) (emphasis added).

              d. The Supreme Court explained that the ACA’s provisions are “closely

                 intertwined,” such that “the guaranteed issue and community rating

                 requirements would not work without the coverage requirement [i.e.,

                 Section 5000A].” King, 135 S. Ct. at 2487 (emphasis added); NFIB, 567

                 U.S. at 547–48 (Roberts, C.J).

              e. Upsetting this balance “would destabilize the individual insurance

                 market” in the manner “Congress designed the Act to avoid.” King, 135

                 S. Ct. at 2493.

B.      The Individual Mandate and the Tax Penalty Are Inextricably
        Intertwined—One Cannot Exist Without the Other under NFIB v.
        Sebelius.

        21.      In NFIB v. Sebelius, 567 U.S. 519 (2012), the constitutionality of the

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ACA was challenged by most of the Plaintiff States herein.

        22.     As relevant here, the States argued that Section 5000A “exceeded

Congress’s powers under Article I of the Constitution.” Id. at 540 (Roberts, C.J.).

Specifically, the States argued that: (1) the Commerce Clause did not support the

individual mandate; (2) Congress’s tax power did not support the mandate; and (3) if

Section 5000A is unconstitutional, the Court must enjoin the entire ACA because it

is non-severable. See id. at 538–43 (Roberts, C.J.).

        23.     A majority of the Supreme Court held (via the opinion of the Chief

Justice and the four-Justice dissenting opinion) that the individual mandate

exceeded Congress’s power under the Commerce Clause and the Necessary and

Proper Clause. Id. at 558–61 (Roberts, C.J.); id. at 657 (Dissenting Op.).

        24.     A different majority (via the opinion of the Chief Justice and the four-

Justice concurring opinion) then held it was “fairly possible” to read the individual

mandate plus its tax penalty as a single, unified tax provision, and thus could be

supported under Congress’s tax power. Id. at 563 (Roberts, C.J.).

        25.     Under this alternate tax interpretation, Section 5000A is no longer “a

legal command to buy insurance” backed up by a threat of paying a penalty that is

applicable to some, but not all, of those to whom the mandate applies; “[r]ather, it

makes going without insurance just another thing the Government taxes, like buying

gasoline or earning income.” Id. (Roberts, C.J.).

        26.     “The essential feature” of the Court’s alternative tax holding is that the

tax penalty “produces at least some revenue for the Government.” Id. at 564 (Roberts,

C.J.) (citing Kahriger, 345 U.S. at 28 n.4) (emphasis added). “Indeed, the payment is

expected to raise about $4 billion per year by 2017.” Id. (Roberts, C.J.). Absent that

“essential feature,” the Court’s alternative interpretation was not “fairly possible”

under both the Constitution’s text and longstanding Supreme Court precedent.

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        27.     The NFIB dissent rejected this alternate reading. The dissent explained

that Section 5000A is “a mandate that individuals maintain minimum essential

coverage, [which is] enforced by a penalty.” Id. at 662 (Dissenting Op.) (emphasis

added). It is “a mandate to which a penalty is attached,” not “a simple tax.” Id. at 665

(Dissenting Op.).

        28.     The dissent explained that the structure of Section 5000A supported the

mandate-attached-to-a-penalty-that-sometimes-applies        reading:   Section   5000A

mandates that individuals buy insurance in Subsection (a), and then in Subsection

(b) it imposes the penalty for failure to comply with Subsection (a). Id. at 663

(Dissenting Op.). Section 5000A exempts “some” people from the mandate, but not

the penalty—“those with religious objections,” who “participate in a health care

sharing ministry,” and “those who are not lawfully present in the United States.” Id.

at 665 (Dissenting Op.) (citations omitted). “If [Section] 5000A were [simply] a tax”

and “no[t] [a] requirement” to obtain health insurance, exempting anyone from the

mandate provision, but not the penalty provision, “would make no sense.” Id.

(Dissenting Op.).

        29.     The Chief Justice agreed with the dissent’s primary conclusion (thereby

creating a majority) that the “most straightforward reading of” Section 5000A “is that

it commands individuals to purchase insurance.” Id. at 562 (Roberts, C.J.). “Congress

thought it could enact such a command under the Commerce Clause, and the

Government primarily defended the law on that basis.” Id. (Roberts, C.J.). The “most

natural interpretation of the mandate” is that it is a command backed up by a penalty,

not a tax. Id. at 563 (Roberts, C.J.).

C.      The Tax Cuts and Jobs Act of 2017 Repealed The Tax Penalty, Leaving
        Only the Unconstitutional Individual Mandate.

        30.     On December 22, 2017, the President signed into law the Tax Cuts and


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Jobs Act of 2017. Among many other provisions, the new law amended Section 5000A.

Pub. L. No. 115-97, § 11081.

         31.     This amendment reduces the operative parts of Section 5000A(c)’s tax

penalty formula to “Zero percent” and “$0.” Pub. L. No. 115-97, § 11081. This change

applies after December 31, 2018. Id. After the Tax Cuts and Jobs Act of 2017,

Section 5000A(a) still contains the individual mandate, requiring “[a]n applicable

individual” to “ensure that the individual . . . is covered under minimum essential

coverage,” but Section 5000A(b)’s tax “penalty” for an individual who “fails to meet

th[is] requirement” is now $0.

         32.     The House Conference Report of the Tax Cuts and Jobs Act of 2017

agreed. “Under the [ACA], individuals must be covered by a health plan that provides

at least minimum essential coverage or be subject to a tax (also referred to as a

penalty) for failure to maintain the coverage (commonly referred to as the ‘individual

mandate’).” H.R. Rep. No. 115-466, at 323 (2017). 4 “The Senate amendment reduces
the amount of the individual responsibility payment, enacted as part of the Affordable

Care Act, to zero.” Id. at 324. The Conference Report is silent about the individual

mandate itself.

         33.     The CBO’s report on the Tax Cuts and Jobs Act of 2017 explains that

the bill “eliminate[s]” the “individual mandate penalty . . . but [not] the mandate

itself.” CBO 2017 Report 1. The CBO added that “a small number of people who enroll

in insurance because of the mandate under current law would continue to do so [post

elimination of the individual mandate’s penalty] solely because of a willingness to

comply with the law.” Id.

         34.     In the Tax Cuts and Jobs Act of 2017, Congress did not amend or repeal

the ACA’s legislative findings that the individual mandate is essential to the


4   See https://www.gpo.gov/fdsys/pkg/CRPT-115hrpt466/pdf/CRPT-115hrpt466.pdf.
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operation of the ACA.

        35.      As the Supreme Court explained in NFIB, “the essential feature of any

tax” is that it “produces some revenue.” 567 U.S. at 564 (emphasis added).

        36.      Section 5000A, as amended by the Tax Cuts and Jobs Act of 2017, now

“produces” no revenue (beginning Jan. 1, 2019). Accordingly, it is not possible to

interpret the individual mandate as part of a single unified tax provision.

        37.      Instead, the “most natural interpretation of the mandate,” id. at 563

(Roberts, C.J.), is now the only interpretation possible: an unconstitutional command

from the federal government to individuals to purchase a product.

D.      The ACA, As Amended, Imposes Serious Injury and Irreparable Harm
        Upon the States and Their Citizens.

        38.      As Congress itself found, the ACA’s provisions only work rationally with

the individual mandate—a mandate now unconstitutional under NFIB.

        39.      The unconstitutional individual mandate, along with the ACA itself,

significantly harms and impacts the States, as independent sovereigns, in various

ways:

              a. Imposing a burdensome and unsustainable panoply of regulations on a

                 market that each State has the sovereign responsibility to regulate and

                 maintain within its own borders, to wit:

                     i. The ACA imposes a health insurance exchange in each State for

                         consumers to shop for health plans and access subsidies to help

                         pay for coverage. Under the ACA, States can choose between

                         three types of exchanges:

                             1. State-based exchange (adopted by 16 States, plus the

                                 District of Columbia), including five federally-supported

                                 exchanges, which rely on the Healthcare.gov technology


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                                 platform;

                             2. State-partnership with a federally facilitated exchange

                                 (adopted by six States), or

                             3. Federally-facilitated exchange (adopted by 28 States).

                                 Defendant HHS established and imposed the exchange

                                 infrastructure on the States and certifies at the federal

                                 level that participating health plans meet the federal

                                 requirements to sell plans on the exchange. The ACA does

                                 not grant States statutory authority to enforce the ACA

                                 and HHS maintains the authority to take enforcement

                                 action. For States involved in the federally-facilitated

                                 exchange, carriers must file plans with both the state

                                 regulatory authority and CMS (Centers for Medicare and

                                 Medicaid Services), even if they do not plan to participate

                                 in the exchange. Whether they are sold on or off the federal

                                 Marketplace, all individual and small group health

                                 insurance plans must include the essential health benefits

                                 package and comply with other federal requirements.

                    ii. The ACA also imposed myriad market reforms on the States,

                         including guaranteed issue, prohibition on preexisting condition

                         exclusions, and modified community ratings.

            b. By forcing state, non-federal governmental officials and citizens to

                comply with the mandates of the ACA, including the individual

                mandate, and all of the ACA’s associated rules and regulations, instead

                of state-based policy regarding health insurance, Plaintiffs are injured.

                Sovereigns suffer injury when their duly enacted laws or policies are

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                enjoined or impeded. See Alfred L. Snapp & Son, Inc. v. Puerto Rico, 458

                U.S. 592, 601 (1982) (recognizing the interest of a sovereign in its “power

                to create and enforce a legal code, both civil and criminal”); Alaska v.

                U.S. Dep’t of Transp., 868 F.2d 441, 443 n.1 (D.C. Cir. 1989) (agreeing

                that the State has standing to seek declaratory and injunctive relief

                “because DOT claims that its rules preempt state consumer protection

                statutes, [and therefore] the States have suffered injury to their

                sovereign power to enforce state law”); Maryland v. King, 133 S. Ct. 1, 3

                (2012) (citing New Motor Vehicle Bd. v. Orrin W. Fox Co., 434 U.S. 1345,

                1351 (1977) (Rehnquist, J., in chambers) (“It also seems to me that any

                time a State is enjoined by a court from effectuating statutes enacted by

                representatives of its people, it suffers a form of irreparable injury.”));

                Planned Parenthood of Greater Texas Surgical Health Servs. v. Abbott,

                734 F.3d 406, 419 (5th Cir. 2013) (“When a statute is enjoined, the State

                necessarily suffers the irreparable harm of denying the public interest

                in the enforcement of its laws.”); Coalition for Econ. Equity v. Wilson,

                122 F.3d 718, 719 (9th Cir. 1997); Illinois Dep’t of Transp. v. Hinson, 122

                F.3d 370, 372 (7th Cir. 1997) (State has standing where it “complains

                that a federal regulation will preempt one of the state’s laws.”).

            c. The unconstitutional individual mandate, along with the ACA itself,

                significantly harms and impacts the States by compelling them to take

                corrective action, at great cost, to save their insurance markets, to wit:

                     i. On January 21, 2018, Governor Scott Walker of Wisconsin called

                         on the Legislature to pass “a state-based reinsurance program”

                         for individuals purchasing insurance on the ACA’s exchanges,

                         which will “stabilize[ ]” the market after “insurers exit[ ] [and]

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                         shock rate increases.” Governor Scott Walker, Press Release,

                         Governor Walker Proposes Health Care Stability Plan to

                         Stabilize Premiums for Wisconsinites on Obamacare (Jan. 21,

                         2018). 5 This proposal would cost $200 million, split between State

                         and federal funds. Governor Scott Walker, Memo Accompanying

                         Jan. 21, 2018 Press Release. 6 The Wisconsin Legislature passed

                         a    reinsurance       program     in   February      2018. 7     Wisconsin’s

                         reinsurance program is necessary because the ACA’s regulations

                         of the individual market causes health-insurance premiums to

                         rise substantially. Without Wisconsin’s intervention, plans in the

                         individual market would either not be offered, or would be

                         prohibitively expensive.

                    ii. Wisconsin’s        Insurance      Commissioner,      like    the    insurance

                         commissioners of all States, will need to take other corrective

                         actions to protect Wisconsin citizens from the ACA’s irrational

                         regime.

                   iii. While the Texas Legislature did not adopt most ACA

                         requirements into Texas law, the Texas Department of Insurance

                         (“TDI”) monitors the impact of the ACA on the Texas insurance

                         market and takes action, when warranted, to protect consumers

                         and minimize market disruptions. For example, TDI developed

                         navigator rules to address insufficient federal standards for

                         navigators, 28 TAC §§ 19.4001–19.4017, and the ACA-forced

5    See     https://walker.wi.gov/press-releases/governor-walker-proposes-health-care-stability-plan-
stabilize-premiums-wisconsinites.
6     See     https://jwyjh41vxje2rqecx3efy4kf-wpengine.netdna-ssl.com/wp-content/uploads/2018/01/
180120Overview.pdf.
7 See Wisconsin State Legislature, Senate Bill 770, https://docs.legis.wisconsin.gov/2017/proposals/reg/

sen/bill/sb770.
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                         dissolution of the Texas Health Insurance Pool caused insurance

                         coverage disruptions given the difficulties with the federal health

                         exchange rollout, requiring TDI to issue an emergency rule

                         extending       existing insurance   coverage   for Texas Health

                         Insurance Pool enrollees.

                    iv. Moreover, like other States, many health insurers have

                         withdrawn from Texas due to unsustainable rising costs. Some

                         federally designated regions of Texas have only one insurance

                         carrier offering healthcare plans. Texas residents and employers,

                         including Texas itself as an employer, suffer as a result of this

                         lack of choice and higher costs.

                     v. Likewise, the ACA has wrought havoc on the health insurance

                         market in Nebraska. In 2017, two insurers exited Nebraska’s

                         individual market, leaving only a single insurer remaining. Aetna

                         announced its withdrawal from Nebraska’s individual market in

                         May 2017, citing an expected loss of $200 million for 2017 in the

                         four states Aetna sold individual coverage. In June 2017, Blue

                         Cross and Blue Shield of Nebraska also announced its withdrawal

                         from Nebraska’s individual market, citing an expected loss of $12

                         million for 2017, in addition to the approximately $150 million

                         loss the company experienced in Nebraska from 2014 to 2016. In

                         the wake of these companies’ departures, only a single insurer,

                         Medica, is left in Nebraska’s individual market. Nebraskans are

                         left to hope Medica—which itself raised premiums in plan year

                         2017 by an average of nearly 31 percent—remains in the market

                         for 2019.

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                    vi. In Missouri, the Interim Committee on Stabilizing Missouri’s

                         Health Insurance Markets, a bi-partisan committee of the

                         Missouri House, was formed to work on solving the rising

                         instability plaguing the Missouri insurance markets as a result of

                         the ACA. The committee voted unanimously to create the

                         “Missouri Reinsurance Plan,” and legislation to establish the

                         Missouri Reinsurance Plan, introduced on February 22, 2018.

                         H.B. 2539, 99th General Assembly (Mo. 2018). 8

                   vii. Governor Otter of Idaho recently issued an Executive Order to the

                         Idaho Department of Insurance to “approve [health-insurance

                         plans] that follow all State-based requirements, even if not all

                         [ACA] requirements are met.” Office of Governor C.L. “Butch”

                         Otter, Executive Order No. 2018-02 (Jan. 5, 2018). 9 The Idaho
                         Department of Insurance has issued a bulletin implementing this

                         order. Idaho Dep’t of Ins., Bulletin No. 18-01 (Jan. 24, 2018). 10

                  viii. Maryland began investigating the enactment of its own state-

                         level individual mandate to replace the amended ACA individual

                         mandate. 11

                    ix. Other States will need to take similar corrective measures to

                         address the ACA’s irrational regime.

        40.     The unconstitutional individual mandate, along with the ACA itself,

significantly harms and impacts the States as Medicaid and CHIP providers:


8 See https://www.house.mo.gov/billtracking/bills181/hlrbillspdf/5903H.01I.pdf.
9 See https://gov.idaho.gov/mediacenter/execorders/eo2018/EO%202018-02.pdf.
10 See https://doi.idaho.gov/DisplayPDF?Id=4712.
11 See Josh Hicks, With Obama’s Federal Mandate Disappearing, Md. Democrats Push ‘Down Payment’

Plan, Wash. Post (Jan. 9, 2018), https://www.washingtonpost.com/local/md-politics/md-democrats-
push-insurance-down-payment-plan-to-replace-federal-mandate/2018/01/09/bc0afbb0-f4f4-11e7-beb6-
c8d48830c54d_story.html?utm_term=.789a454ab8bf.
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            a. The United States Congress created the Medicaid program in 1965. See

                Social Security Amendments of 1965, Pub. L. No. 89-97, 79 Stat. 286

                (1965). Medicaid is jointly funded by the United States and the States

                to provide healthcare to individuals with insufficient income and

                resources. See generally 42 U.S.C. §§ 1396-1396w. To participate in

                Medicaid, States must provide coverage to a federally-mandated

                category of individuals and according to a federally-approved State plan.

                See 42 U.S.C. § 1396a; 42 C.F.R. §§ 430.10–430.12. All 50 States

                participate in the Medicaid program. 12
            b. The United States Congress created the Children’s Health Insurance

                Program (“CHIP”) in 1997. See Balanced Budget Act of 1997, Pub. L. No.

                105-33, Title IV, Subtitle J, 111 Stat. 251 (Aug. 5, 1997). The federal

                government and the States jointly fund CHIP to provide healthcare for

                uninsured children that do not qualify for Medicaid. See 42 U.S.C.

                § 1397aa. CHIP covers children in families who have too much income

                to qualify for Medicaid, but cannot afford to buy private insurance. CHIP

                provides basic primary health care services to children, as well as other

                medically necessary services, including dental care. All States now

                participate in CHIP since its creation in 1997.

            c. Because Medicaid and CHIP are entitlement programs, States cannot

                limit the number of eligible people who can enroll, and Medicaid and

                CHIP must pay for all services covered under the program. Providing

                health care to individuals with insufficient income or resources through

                the Medicaid or CHIP programs is a significant function of state


12Federal Financial Participation in State Assistance Expenditures; Federal Matching Shares for
Medicaid, the Children’s Health Insurance Program, and Aid to Needy Aged, Blind, or Disabled
Persons for October 1, 2014 through September 30, 2015, 79 Fed. Reg. 3385 (Jan. 21, 2014).
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                 government.

              d. One avenue for individuals to comply with Section 5000A’s individual

                 mandate        is   to    apply      for   Medicaid     or   CHIP.   26   U.S.C.

                 § 5000A(f)(1)(A)(iii). Thus, because of the individual mandate and the

                 ACA, many individuals became eligible for Medicaid, or may have been

                 previously eligible but opted not to enroll. Either way, the individual

                 mandate requires millions more to enroll in Medicaid, imposing

                 additional costs on the States. This reality does not represent

                 “unfettered choices made by independent [state] actors,” ASARCO Inc.

                 v. Kadish, 490 U.S. 605, 615 (1989), but is rather a direct consequence

                 of the individual mandate and the ACA, leaving Medicaid as the only

                 option through which numerous individuals may comply.

              e. As the CBO explained before both the enactment of ACA and the

                 enactment of the Tax Cuts and Jobs Act of 2017, at least some

                 individuals will obtain health insurance because of the mandate, even

                 absent any tax penalty. See CBO 2017 Report 1.

              f. The mandate forcing more individuals onto Medicaid or CHIP causes

                 significant monetary injuries to the States, because these programs

                 obligate the States to share the expenses of coverage with the federal

                 government.

        41.      Pursuant to 26 U.S.C. § 4980H, the ACA harms the States as large

employers:

              a. The ACA requires States, as large employers, to offer their employees

                 health-insurance plans with minimum essential benefits defined solely

                 by the Federal Government.

              b. If a State wished to pursue other health-insurance policies for its

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                employees, perhaps by offering insurance with a different assortment of

                coverage benefits, the Federal Government will tax or penalize the

                State. 26 U.S.C. § 4980H.

            c. The ACA imposes a 40% “[e]xcise tax” on “high cost employer-sponsored

                health coverage.” 26 U.S.C. § 4980I. As an employer, Wisconsin must do

                “considerable work” restructuring its health-insurance offerings to avoid

                this costly measure. 13 This work “may have a significant effect on future

                plan design and maximum benefit limitations.” 14

            d. Because of the costs of the ACA, a major Wisconsin health insurer,

                Assurant Health, ceased its Wisconsin operations. 15 This cost Wisconsin
                approximately 1,200 jobs. 16

            e. The ACA resulted in the repeal of Wisconsin’s high-risk pool, the Health

                Insurance Risk-Sharing Plan, which effectively managed the health-

                insurance needs of high-risk individuals before the full implementation

                of the ACA. Wis. Stat. §§ 149.10–.53 (2011–12) (statutory framework for

                Wisconsin Health Insurance Risk-Sharing Plan), repealed by 2013 Wis.

                Act 20, § 1900n; see generally Wis. Legislative Audit Bureau, Report 14-

                7 Health Insurance Risk-Sharing Plan Authority at p.1 (June 2014)

                (describing history of Wisconsin’s HIRSP, including dissolution and

                repeal).

            f. If state employees obtain subsidized insurance from an exchange

                instead of from a state plan, the Federal Government will tax or penalize

13  Segal Consulting, Second Report—Observations and Recommendations for 2017 and Beyond,
prepared for Wisconsin Group Insurance Board Department of Employee Trust Funds, at p. 141 (Nov.
17, 2015), http://etf.wi.gov/boards/agenda-items-2015/gib1117/item3ar.pdf.
14 Id. at 142.
15 See Guy Boulton, Milwaukee-Based Assurant Health To Be Sold Of Or Shut Down, Milwaukee

Journal Sentinel (Apr. 28, 2015), http://archive.jsonline.com/business/assurant-considering-sale-of-
milwaukee-based-assurant-health-b99490422z1-301614251.html.
16 Id.


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                the State.

            g. More employees will join state-sponsored plans because of the mandate,

                imposing additional costs upon the States. See CBO 2017 Report 1. In

                Texas, for example, from FY13–FY17, the Texas Group Benefits

                Program, administered by the Employees Retirement System of Texas,

                spent $487 million on ACA-related costs. 2016 Group Benefits Program

                Comprehensive Annual Report, Employees Retirement System of Texas

                (Feb. 2017). 17

            h. Nebraska, for example, has borne significant new costs at the behest of

                the ACA. Nebraska, like other States, must offer non-full time

                employees (i.e., employees working 30–39 hours per week) health

                insurance plans with premiums identical to those offered to full time

                employees.

            i. In Missouri, revenue is drained by faster-than-projected growth in

                health care expenditures, driven in part by the impact of the ACA.

                Accordingly, Governor Greitens’s budget for Fiscal Year 2018 includes

                more than $572 million in cuts across Missouri state government and

                reduces the State’s workforce by 188 positions. Mo. Office of Admin.,

                Summary, The Missouri Budget, (2018). 18 For Fiscal Year 2019, the

                problems continue. “Health care costs paid by the government continue

                to skyrocket. Obamacare has still not been repealed, and the cost of

                health care continues to rise. Taxpayers pay more and more for

                government health care every year with little or no improvement in



17       See       https://ers.texas.gov/About-ERS/Reports-and-Studies/Reports-and-Studies-on-ERS-
administered-Benefit-Programs/FY16-GBP-Comprehensive-Annual-Report.pdf.
18 See https://oa.mo.gov/sites/default/files/FY_2018_Budget_Summary_Abridged.pdf.




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                 results.” Mo. Office of Admin., Fiscal Year 2019 Budget Priorities, The

                 Missouri Budget. 19

                 In South Dakota, the estimated cost impact of the ACA upon the South

                 Dakota State Employee Benefits Program for FY 2015–2018 is as

                 follows: $10,400 for the review of denied appeals; $19,140,252 for the

                 elimination of the lifetime maximum; $4,575,200 for the expanded

                 preventive services paid only by the plan; $3,202,942 for the

                 Transitional Reinsurance Program fee (fee imposed on self-funded

                 plans); $172,141 for the Patient Centered Outcomes Research Institute

                 fee (fee imposed on self-funded plans); $1,514,205 for the expanded

                 health plan eligibility for part-time employees who did not meet the pre-

                 ACA eligibility definition; $100,000 for the Form 1095-C administration.

                 To date, South Dakota is unable to accurately estimate the cost of the

                 pre-existing conditions exclusion or the expanded eligibility for adult

                 dependent children to age 26, though upon information and belief, those

                 qualifiers have increased the costs for South Dakota’s taxpayers.

          42.    Under the ACA health insurance plans available to Individual Plaintiffs

Hurley and Nantz, Individual Plaintiffs pay dramatically more than prior to the ACA,

have lost access to the doctors and health care providers of their choice, and are

unable to purchase a health insurance plan that meets their needs and preferences.

          43.    The ACA injures Individual Plaintiffs Hurley and Nantz by mandating

that they purchase minimum essential health insurance coverage despite the

Supreme Court’s determination that the requirement is unconstitutional. Despite the



19   See https://oa.mo.gov/sites/default/files/FY_2019_Budget_Summary.pdf.
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reduction of the individual mandate penalty to $0.00 under the Tax Cuts and Jobs

Act, Individual Plaintiffs have an obligation to comply with the individual mandate

under     the     ACA      while     it   remains         federal   law,   despite   the   provision’s

unconstitutionality.

        44.     The ACA further injures the Individual Plaintiffs by establishing a

health-care insurance regulatory system that prevents the Individual Plaintiffs from

purchasing health insurance under a free-market system that would allow them to

have lower premiums, choice in provider, and options for health insurance plans.

        45.     The ACA further injures the Individual Plaintiffs by requiring them to

divert resources from their businesses in order to obtain qualifying health insurance

coverage, regardless of their judgment as to whether maintaining such coverage is a

worthwhile cost of doing business, thereby harming their abilities to maintain their

own businesses.

        46.     In the absence of the ACA, the Individual Plaintiffs would purchase a

health-insurance plan different from the ACA-compliant plans that they are

currently required to purchase were they afforded the option without the ACA.

        47.     Each of the injuries to Individual Plaintiffs is caused by the Defendants’

continued enforcement of the Affordable Care Act, and each of these injuries will be

redressed by a declaratory judgment from this Court pronouncing the Affordable Care

Act unconstitutional.




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                                    IV. CLAIMS FOR RELIEF

                                             COUNT ONE

  Declaratory Judgment That the Individual Mandate of the ACA Exceeds
          Congress’s Article I Constitutional Enumerated Powers

        48.          Plaintiffs incorporate the allegations contained in paragraphs 1

through 47 as if fully set forth herein.

        49.          Section 5000A’s individual mandate exceeds Congress’s enumerated

powers by forcing Individual Plaintiffs to maintain ACA-compliant health insurance

coverage. Congress lacks the authority under the Commerce Clause and Necessary

and Proper Clause to command individuals to purchase health insurance, and the

individual mandate cannot be upheld under any other provision of the Constitution.

        50.          As a majority of the Supreme Court concluded, the “most

straightforward reading of” Section 5000A “is that it commands individuals to

purchase insurance.” NFIB, 567 U.S. at 562–63 (Roberts, C.J.); id. at 663–65

(Dissenting Op.). Thus, Congress lacks authority under the Commerce Clause and

Necessary and Proper Clause to command individuals to purchase health insurance.

        51.          In NFIB, a different majority of the Supreme Court saved Section

5000A from unconstitutionality by interpreting it not as a mandate enforced by a

separate tax penalty, but by combining the mandate with the tax penalty and treating

those provisions as a single tax on individuals who chose to go without insurance. 567

U.S. at 563 (Roberts, C.J.).

        52.          The Constitution grants to Congress the “Power to lay and collect

Taxes . . . to pay the Debts and provide for the common Defence and general Welfare

of the United States.” U.S. Const. art. I, § 8, cl. 1.
        53.          A provision that raises no revenue is not a tax because it does nothing

to “pay the Debts” or “provide for the common Defense and general Welfare of the


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United States.” Indeed, “the essential feature of any tax” is the “produc[tion] [of] at

least some revenue for the Government.” NFIB, 567 U.S. at 564–65, 574.

        54.          The Tax Cuts and Jobs Act of 2017 reduced Section 5000A’s tax

penalty to $0. Pub. L. No. 115-97, § 11081. Accordingly, Section 5000A no longer

possesses “the essential feature of any tax”; it no longer “produces at least some

revenue for the Government.”

        55.          Therefore, after Congress amended Section 5000A, it is no longer

possible to interpret this statute as a tax enacted pursuant to a valid exercise of

Congress’s constitutional power to tax. Rather, the only reading available is the most

natural one; Section 5000A contains a stand-alone legal mandate.

        56.          No other provision of the Constitution supports Congress’s claimed

authority to enact Section 5000A’s individual mandate. Accordingly, Section 5000A’s

individual mandate is unconstitutional.

        57.          The remainder of the ACA is non-severable from the individual

mandate, meaning that the Act must be invalidated in whole.

        58.          Alternatively, and at the very minimum, as even the Obama

Administration conceded in its briefing in NFIB, the guaranteed-issue and

community-rating provisions are non-severable from the mandate and must be

invalidated along with the individual mandate.

        59.          Because of Defendants’ actions, Plaintiffs have suffered, and

continue to suffer, irreparable injury.

        60.          Plaintiffs are entitled to a declaration that the individual mandate of

the ACA exceeds Congress’s Article I constitutionally enumerated powers. Plaintiffs

also are entitled to a permanent injunction against Defendants from implementing,

regulating, or otherwise enforcing any part of the ACA because its requirements are

unlawful and not severable from the unconstitutional individual mandate.

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                                             COUNT TWO

  Declaratory Judgment That the ACA Violates the Due Process Clause of
                the Fifth Amendment to the Constitution

        61.          Plaintiffs incorporate the allegations contained in paragraphs 1

through 60 as if fully set forth herein.

        62.          The Due Process Clause of the Fifth Amendment provides “nor shall

any person . . . be deprived of life, liberty, or property, without due process of law.”

U.S. Const. amend. V.

        63.          The Fifth Amendment contains an “implicit” “equal protection

principle” binding the federal Government. Sessions v. Morales-Santana, 137 S. Ct.

1678, 1686 (2017).

        64.          Legislation that imposes irrational requirements violates the Due

Process Clause.

        65.          Given that Section 5000A’s individual mandate is unconstitutional,

the rest of the ACA is irrational under Congress’s own findings.

        66.          The ACA lacks a rational basis now that the individual mandate’s

tax penalty has been repealed.

        67.          Section 18091(2)(I), the chief legislative finding in the ACA, explains

that “[t]he requirement [to buy health insurance] is essential to creating effective

health insurance markets in which improved health insurance products that are

guaranteed issue and do not exclude coverage of pre-existing conditions can be sold.”

42 U.S.C. § 18091(2)(I).

        68.          Given that the ACA’s “essential” feature—the individual mandate—
is unconstitutional, the law now imposes irrational requirements, in violation of the

Due Process Clause.

        69.          Because of Defendants’ actions, Plaintiffs have suffered, and


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continue to suffer, irreparable injury.

        70.          Plaintiffs are entitled to a declaration that the ACA violates the Due

Process Clause to the Fifth Amendment. Plaintiffs also are entitled to a permanent

injunction against Defendants from implementing, regulating, or otherwise enforcing

any part of the ACA because its requirements are unlawful and not severable from

the unconstitutional individual mandate.

                                           COUNT THREE

Declaratory Judgment That the ACA Violates the Tenth Amendment to the
                      United States Constitution

        71.          Plaintiffs incorporate the allegations contained in paragraphs 1

through 70 as if fully set forth herein.

        72.          The Tenth Amendment provides: “The powers not delegated to the

United States by the Constitution, nor prohibited by it to the States, are reserved to

the States respectively, or to the people.” U.S. Const. amend. X.

        73.          Legislation that is irrational is outside the powers delegated to the

United States by the Constitution.

        74.          Under Congress’s own findings, the ACA lacks a rational basis now

that the individual mandate’s tax penalty has been repealed and the individual

mandate is unconstitutional. See supra ¶¶ 53–62.

        75.          The ACA is therefore not within the powers delegated to the United

States.

        76.          Because of Defendants’ actions, Plaintiffs have suffered, and

continue to suffer, irreparable injury.

        77.          Plaintiffs are entitled to a declaration that the ACA violates the

Tenth Amendment to the United States Constitution. Plaintiffs also are entitled to a

permanent injunction against Defendants from implementing, regulating, or


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otherwise enforcing any part of the ACA because its requirements are unlawful and

not severable from the unconstitutional individual mandate.

                                            COUNT FOUR

         Declaratory Judgment Under 5 U.S.C. § 706 that Agency Rules
               Promulgated Pursuant to the ACA Are Unlawful

        78.          Plaintiffs incorporate the allegations contained in paragraphs 1

through 77 as if fully set forth herein.

        79.          The Administrative Procedure Act requires the Court to hold

unlawful and set aside any agency action that is, among other things, (a) arbitrary,

capricious, an abuse of discretion, or otherwise not in accordance with law; (b)

contrary to constitutional right, power, privilege, or immunity; and (c) in excess of

statutory jurisdiction, authority, or limitations, or short of statutory right. 5 U.S.C.

§ 706(2).

        80.          The Department and Service are both “agenc[ies]” under the

Administrative Procedures Act, 5 U.S.C. § 551(1), and the regulations and rules

promulgated pursuant to the ACA are “rules” under the Administrative Procedures

Act, 5 U.S.C. § 551(4).

        81.          Because the ACA exceeds Congress’s Article I Constitutional

enumerated powers and violates the Fifth and Tenth Amendments to the

Constitution for the reasons described in prior paragraphs, all regulations

promulgated pursuant to, implementing, or enforcing, the ACA are arbitrary and

capricious, contrary to law, and in excess of agency authority.

        82.          Because of Defendants’ actions, Plaintiffs have suffered, and

continue to suffer, irreparable injury.

        83.          Plaintiffs are entitled to a declaration that regulations promulgated
pursuant to, implementing, or enforcing the ACA violates the Administrative


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Procedure Act. Plaintiffs also are entitled to a permanent injunction against

Defendants from implementing, regulating, or otherwise enforcing any part of the

ACA because its requirements are unlawful and not severable from the

unconstitutional individual mandate.

                                             COUNT FIVE

Injunctive Relief Against Federal Officials from Implementing, Regulating,
                     or Otherwise Enforcing the ACA

        84.          Plaintiffs incorporate the allegations contained in paragraphs 1

through 83 as if fully set forth herein.

        85.          Plaintiffs are entitled to a permanent injunction against Defendants

from implementing, regulating, or otherwise enforcing any part of the ACA because

its requirements are unlawful and not severable from the unconstitutional individual

mandate.

                                    V. PRAYER FOR RELIEF

        Plaintiffs respectfully request that the Court:

        A.      Declare the ACA, as amended by the Tax Cuts and Jobs Act of 2017, to

                be unconstitutional either in part or in whole.

        B.      Declare unlawful any and all rules or regulations promulgated pursuant

                to, implementing, regulating, or otherwise enforcing the ACA.

        C.      Enjoin,      preliminarily       and      permanently,   Defendants   and    their

                employees, agents, successors, or any other person acting in concert with

                them, from implementing, regulating, enforcing, or otherwise acting

                under the authority of the ACA.

        D.      Award Plaintiffs their reasonable costs, including attorneys’ fees.

        E.      Grant Plaintiffs any and all such other and further relief to which they

                are justly entitled at law and in equity.


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        Respectfully submitted this the 23rd day of April, 2018,

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                                  CERTIFICATE OF SERVICE

        I certify that the foregoing document was electronically filed with the Clerk of

Court using the CM/ECF system, which will send notification of such filing to all

counsel of record registered as CM/ECF users, and by email to the following:


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                                                  /s/Darren McCarty
                                                  DARREN MCCARTY


                              CERTIFICATE OF CONFERENCE

        I certify that I conferred with counsel for Defendants, who consent to the filing

of this Amended Complaint under Federal Rule of Civil Procedure 15(a)(2).

                                                  /s/Darren McCarty
                                                  DARREN MCCARTY




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